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                                                              [PUBLISH]
                                    In the
                 United States Court of Appeals
                         For the Eleventh Circuit
                           ____________________

                                 No. 22-11118
                           ____________________


        PRN REAL ESTATE & INVESTMENTS, LTD.,
                                                       Plaintiff-Appellant,
        versus


        WILLIAM W. COLE, JR.,


                                                     Defendant-Appellee.
                           ____________________

                  Appeal from the United States District Court
                       for the Middle District of Florida
                     D.C. Docket No. 6:21-cv-711-WWB
                           ____________________
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        Before JILL PRYOR and GRANT, Circuit Judges, and MAZE, * District
        Judge.
        MAZE, District Judge:
              William W. (“Bill”) Cole, Jr., petitioned for Chapter 7
        bankruptcy and listed PRN Real Estate & Investments, Ltd.
        (“PRN”) as his primary creditor. PRN sought to exempt debts that
        Cole owes PRN from being discharged. The bankruptcy court
        granted judgment for Cole on all of PRN’s claims and fully
        discharged Cole’s debt. The district court affirmed.
               For the reasons explained below, we agree with each of the
        bankruptcy court’s rulings except one: we find that PRN pleaded a
        viable discharge exception in Count 3. We therefore AFFIRM IN
        PART and REVERSE IN PART the bankruptcy court’s rulings and
        REMAND for further proceedings.
                                I. BACKGROUND
               Bill Cole and Nancy Rossman partnered to develop
        residential real estate for more than a decade. But their relationship
        has since devolved into what the bankruptcy court described as
        “open warfare.” In short, Rossman claims that Cole sought
        bankruptcy to avoid paying the $15-plus million debt he owed
        Rossman’s company, PRN. She also claims that Cole committed
        multiple acts of fraud to place his assets out of PRN’s reach. The


        * Honorable Corey L. Maze, United States District Judge for the Northern
        District of Alabama, sitting by designation.
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        resulting fight has spilled across multiple state and federal courts,
        returning now to us for a second time.
                              A. Cole’s Debt to PRN
               Bill Cole has worn many hats: accountant, CFO, and real
        estate developer. As a developer, Cole would identify lucrative
        projects, then find investors and builders. Cole managed the
        projects on both ends, funding and construction. Some projects he
        managed through entities that he created for the project; others he
        managed with his partner, Allan Goldberg, through their joint
        business, C&G Real Estate Group, LLC (“C&G”).
               Nancy Rossman and her sisters owned PRN. PRN pumped
        millions of dollars into C&G projects starting in 2000. For the next
        eight years, Rossman’s relationship with Cole was amicable and
        financially successful. Then the recession hit.
              In 2008, Cole’s projects were struggling. So PRN agreed to
        lend extra capital to Cole. In return, Cole agreed to personally
        guarantee the loans. But Cole could not repay the loans when they
        came due in November 2011.
               So Cole and Rossman amended their 2008 agreement in
        2012. Among the amended terms, Cole agreed to cut his partner
        Allan Goldberg out of the projects. Cole agreed to continue old
        projects that included PRN and to allow PRN to invest in Cole’s
        new projects. And Cole agreed that he would pay a percentage of
        his project income to PRN and provide detailed financial reports to
        PRN to ensure Cole was upholding his end of the bargain.
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               Cole eventually breached his duties under the 2012
        Agreement. Rossman and PRN filed their first lawsuit against Cole
        in Florida state court in July 2014. One year later, Cole filed for
        Chapter 7 bankruptcy. That petition is now before this Court. But
        before we can discuss Cole’s petition, we must detail some of
        Cole’s actions leading up to its filing.
                                B. Alleged Fraud
                PRN claims that Cole committed several fraudulent acts to
        shield his money from PRN before and after Cole filed his Chapter
        7 petition. Three are relevant here.
              1. The COLP Transfers
              In 2002, Bill Cole and his wife Terre formed Cole of Orlando
        Limited Partnership (“COLP”), a Nevada entity, to hold their
        investments. Each spouse owned a 49.5% interest in COLP
        through his or her respective revocable trusts. The remaining 1%
        was held by W&T Cole, LLP, another Nevada entity that the Coles
        owned as tenants by the entireties.
              Over the years, COLP held stocks, bonds, and brokerage
        accounts. Relevant here, COLP also incurred debts related to
        projects involving Cole and PRN.
              In 2003, SunTrust Bank loaned $7.5 million to Douglasville
        Development, LLC and Sweetwater Investment Properties, LLC.
        Thirteen individuals and entities jointly and severally guaranteed
        the loan, including Bill Cole, Terre Cole, Rossman, Goldberg,
        PRN, and COLP.
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              In August 2004, SunTrust Bank loaned $1.21 million to
        RANC Development, Inc. Ten individuals and entities jointly and
        severally guaranteed the loan, including Bill Cole, Terre Cole,
        Rossman, Goldberg, PRN, and COLP.
                Both Douglasville and RANC defaulted on their loans,
        making the co-guarantors jointly and severally liable to SunTrust.
        In September 2011, PRN agreed to pay SunTrust $5 million to
        settle these and other debts. None of the co-guarantors paid PRN
        contribution.
               Two months later (November 2011), Cole’s debt to PRN
        under their 2008 agreement matured. PRN notified Cole of his
        default on December 15, 2011. At the time, Cole owed PRN more
        than $12 million.
               Over the next four weeks, Cole transferred about $4 million
        from COLP’s coffers into a Florida-based account held by Bill and
        Terre Cole as tenants by the entireties, thereby shielding the
        money from Cole’s creditors under Florida law. The COLP
        transfers are relevant in two proceedings besides this one.
              First, PRN sued its co-guarantors under the Douglasville and
        RANC notes for contribution in Florida state court. See PRN Real
        Est. & Invs., Ltd. v. Cole, Fla. Orange County Ct., Case No. 2014-
        CA-011835-O. PRN named COLP and Bill Cole (among others) as
        defendants. PRN sought the following contribution from COLP:
        $213,113.71 as co-guarantor of the Douglasville Note and
        $187,121.46 as co-guarantor of the RANC Note.
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               Second, the Bankruptcy Trustee sought to avoid the COLP
        transfer as a fraudulent conversion of non-exempt assets into
        exempt assets and to retrieve Cole’s personal interest for the estate.
        See 11 U.S.C. § 544(b)(1) (allowing the Trustee to avoid transfers
        under applicable state law); 11 U.S.C. § 550(a) (allowing the
        Trustee to recover fraudulent transfers for the estate). The
        bankruptcy court granted summary judgment for the Trustee by
        finding that Cole controlled the transfers, and that Cole transferred
        the money “actually intending to hinder, delay, and defraud his
        creditors, primarily PRN.”
               The bankruptcy court did not quantify Cole’s personal
        interest in the COLP transfers, leaving that issue for trial. But Cole
        and the Trustee settled the claim before trial. Under the settlement
        agreement, Cole paid $350,000 to the estate and agreed that his
        settlement with the Trustee did not affect PRN’s claims in this case
        and the previously mentioned state case.
              2. Coledev
               In October 2012, Cole formed Coledev LLC to serve as his
        primary operating business. Coledev was a closely held S
        corporation. Bill and Terre Cole owned 99% of Coledev as tenants
        by the entireties, with their son owning the remaining 1%.
               Shortly after forming Coledev, Bill and Terre Cole
        transferred about $1.18 million to Coledev to fund operations.
        Money flowed freely between the Coles and Coledev for the next
        three years. Then, shortly after Bill Cole filed his bankruptcy
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        petition in July 2015, Coledev transferred $750,000 to a
        construction business primarily owned (95%) by Terre Cole, and
        about $250,000 to the Coles’ joint bank account.
                Cole’s Trustee argued that Coledev’s postpetition transfer
        was a repayment of a shareholder loan that Cole must turn over to
        the estate under 11 U.S.C. § 542. Cole countered that the Coles’
        initial $1.18 million transfer to Coledev was an equitable
        contribution and thus Coledev was repaying a capital contribution;
        a payment that needn’t be turned over to the estate.
                The bankruptcy court sided with Cole, finding that the
        initial 2012 transfer of money to Coledev was a capital contribution
        (not a loan), so the 2015 transfer of money out of Coledev was an
        equity repayment. The court thus issued judgment that the $1
        million transfer need not be turned over to the estate.
               The Trustee appealed but later waived the appeal as part of
        the previously mentioned settlement that saw Cole pay $350,000
        to the estate.
              3. Homestead Fraud
                When Cole filed his petition in July 2015, Bill and Terre Cole
        lived in a 10,000 square foot lakefront home. Cole held title to the
        property under a self-settled revocable trust. Cole’s original title
        listed the property as a single 2.95-acre parcel of land, with most of
        the land (2.185 acres) under water.
              The Florida Constitution exempts a debtor’s homestead
        from forced sale after bankruptcy but limits the exemption to 0.5
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        acres if the homestead is within a municipality. See Fla. Const. art.
        X, § 4. Because Cole’s 2.95-acre property was in a municipality, it
        was too big for the exemption. So Cole split the property.
               Two days after a failed mediation with Rossman, Cole asked
        a surveyor to divide his property into two parcels. The first
        contained the house, boathouse, and dock. The second parcel
        contained everything else, including all of the submerged land. Just
        before filing his bankruptcy petition, Cole executed and recorded
        special warranty deeds that conveyed the newly split parcels from
        the trust to the trust.
               Cole filed his petition, and soon after, his schedules. In them,
        Cole listed the two parcels separately. Cole gave the street address
        for the smaller, dry-land parcel and valued it at $2.5 million. Cole
        generically labeled the larger, mostly submerged parcel and valued
        it at $1,000. Cole did not state the size of either parcel in his
        schedules, nor did he list them as contiguous.
               Both PRN and the Trustee objected, claiming that Cole
        fraudulently split his property to shield the valuable portion from
        the estate. The bankruptcy court held a two-day trial then issued a
        written opinion. In it, the court found that Cole’s schedules were
        “misleading” and that his testimony explaining the split was “not
        credible.”
              Yet “[d]espite Mr. Cole’s inequitable and incredulous
        attempt to gerrymander his homestead exemption,” the
        bankruptcy court found that Florida law required the court to grant
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        Cole the homestead exemption. To undo the fraud, the court
        treated the property as indivisible and held that Cole was entitled
        to 16.95% of the forced sale of the whole—i.e., the 0.5-acre
        homestead exemption limit divided by the entire 2.95-acre parcel.
             The district court affirmed, as did this Court. See Cole v.
        PRN Real Est. & Invs., Ltd., 829 Fed. App’x 399 (11th Cir. 2020).
                       C. The Bankruptcy Court’s Opinions
               Cole filed his Chapter 7 petition and listed PRN (among
        others) as a creditor. PRN filed an adversary proceeding. See Fed.
        R. Bankr. P. 7001. In its operative complaint, PRN pleaded 13
        counts that sought to deny Cole a discharge under 11 U.S.C. § 727,
        or in the alternative, to except certain debts from discharge under
        11 U.S.C. § 523. In this appeal, only Counts 3-4, 8-9, and 11 matter.
        So we do not discuss the other counts.
               1. Counts 3-4 sought to exempt from discharge some
        portion of the $4 million transfer from COLP to the Coles’ tenancy
        by the entireties (“TBE”) account—i.e., the transfer the bankruptcy
        court found fraudulent under Florida law at the Trustee’s behest.
        The bankruptcy court granted Cole summary judgment on these
        claims, ruling orally that “I believe that PRN is asking for a cause
        of action that just isn’t there, and to the extent that it ever could be
        there, it would belong to the Trustee.”
               The Honorable Cynthia Jackson held a trial on all other
        counts in October 2018. Judge Jackson, however, could not issue a
        posttrial opinion because of medical concerns. The case was thus
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        reassigned to the Honorable Karen S. Jennemann, who recalled
        Cole and the Trustee to testify in October 2020. Judge Jennemann
        later granted judgment for Cole on all remaining counts.
                2. Counts 8 and 9 sought a complete denial of discharge
        under 11 U.S.C. §§ 727(a)(2)(A) and 727(a)(2)(B), respectively.
        Relevant here, PRN argued that Cole fraudulently concealed the
        splitting of his homestead into two parcels and fraudulently
        concealed the assets he received from Coledev by mislabeling his
        initial contributions as equity rather than shareholder loans.
                As for the Coles’ homestead, the bankruptcy court reiterated
        its earlier ruling that Cole knowingly manipulated the parcels to
        shield his home from becoming part of the estate. Still, the court
        found that Cole had not “concealed” either parcel from the
        Trustee, as required by § 727(a)(2), because Cole (1) listed both
        parcels in his schedules and (2) told the Trustee about the division
        when Cole first met her. The court also noted that, after its earlier
        ruling that unified the parcels, the property sold for $2.25 million—
        nearly the same amount Cole estimated ($2.5 million). So the
        estate had not been harmed by Cole’s misconduct.
               As for Coledev, the court noted that “all parties knew of
        [Cole’s] ownership interest” in Coledev because Cole listed it in his
        schedules. The court found the disagreement over labeling Cole’s
        contributions as equity versus loans to “make[ ] no difference”
        when it came to concealment because those labels “are often
        meaningless” when it comes to closely held corporations. Plus, the
        Trustee knew about the distinction early on and confirmed that
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        “Cole was cooperative and supplied all the information and
        documents she requested.” So the court could not find that Cole
        concealed his Coledev-related assets with an intent to hinder,
        delay, or defraud his creditors or the Trustee under § 727(a)(2).
                3. Count 11 alleged that Cole knowingly made a false oath
        under 11 U.S.C. § 727(a)(4) by concealing the value of Coledev and
        failing to list COLP in his schedules. After trial, PRN added that
        Cole made multiple false oaths about dividing his homestead.
                As for Coledev, PRN complained that Cole listed its value as
        “undetermined,” even though Cole told a bank that Coledev was
        valued at $3.985 million just days before filing his petition. Cole
        testified that the $3.985 million figure was his estimate about the
        amount of money the Coles had given Coledev, not its value as a
        going business concern. Cole testified that the latter value would
        be difficult to calculate and drastically different. The bankruptcy
        court found this testimony “credible and convincing” and thus held
        that Cole’s oath was not false.
               As for COLP and its 1% partner, W&T Cole LLC, the
        bankruptcy court found that Cole’s omission of COLP from his
        Statement of Financial Affairs (“SOFA”) was material. But the court
        found credible Cole’s testimony that he inadvertently omitted
        COLP from his SOFA, particularly because Cole disclosed COLP
        as a co-obligor in his Schedule H and disclosed a COLP account
        that had funds during his 341 meeting. Further, Cole provided the
        Trustee with information about COLP once the omission was
        noticed, and the Trustee testified that the omission did not affect
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        her administration of the estate.
               Finally, the bankruptcy court found that PRN had not
        pleaded a false oath claim about the Coles’ homestead in its third
        amended complaint, nor had PRN mentioned the claim in its
        pretrial statement or posttrial brief. In the alternative, the court
        also found that Cole had not made a false oath about his property.
              Having ruled for Cole on all counts, the bankruptcy court
        found that Cole’s debts should be discharged.
                          D. The District Court Appeal
               PRN appealed to the district court. See 28 U.S.C. § 158(a)(1)
        (giving district courts jurisdiction over appeals from a bankruptcy
        court’s final order). The district court affirmed the bankruptcy
        court’s posttrial rulings on Counts 8, 9, and 11 on the same grounds
        found by the bankruptcy court. Because this Court directly
        considers the bankruptcy court’s opinion, rather than the district
        court’s opinion, see In re Hoffman, 22 F.4th 1341, 1344 (11th Cir.
        2022), we do not recount the district court’s reasons for affirming
        the bankruptcy court’s rulings on Counts 8, 9, and 11.
                We do, however, dive deeper into the district court’s
        opinion on Counts 3 and 4 because the district court offered more
        grounds than the bankruptcy court’s oral ruling. As for Count 3,
        the district court found that PRN pleaded that Cole was “liable as
        the transferor” of the $4 million, and PRN had not alleged “a basis
        to impute a new debt to Cole as transferor.” According to the
        district court, “as alleged, Count III would only provide liability
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        against Cole for the preexisting debts of Cole of Orlando—which
        no one argues were obtained by fraud.” The court further found
        that Florida law did not provide a cause of action to recover
        compensatory damages against the recipient of a fraudulent
        transfer, only “a vehicle for the equitable recovery of assets, a claim
        that PRN concedes is typically within the exclusive standing of the
        trustee.”
               The district court found that PRN abandoned Counts 4-6 on
        appeal because PRN inadequately briefed standing, the issue PRN
        lost in the bankruptcy court. Alternatively, the court held that
        PRN failed to meet its burden of proving that creditor standing
        could exist beyond the “[T]rustee’s exclusive standing to . . . avoid
        fraudulent transfers.” Like the bankruptcy court, the district court
        held that “the proper ‘creditor’ to bring such a claim is the trustee
        because, in the context of bankruptcy, the trustee has the exclusive
        right to seek to avoid the transfers and return the sums to the
        estate.”
               PRN now appeals to this Court.
                           II. STANDARD OF REVIEW
               We act as the second court of review in this bankruptcy
        appeal. Because the district court affirmed the bankruptcy court on
        all counts, we consider the bankruptcy court’s decision directly. In
        re Hoffman, 22 F.4th at 1344.

             We review the bankruptcy court’s entry of summary
        judgment on Counts 3-6 de novo, viewing all evidence in the light
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        most favorable to PRN as the non-moving party, and we resolve
        reasonable inferences in PRN’s favor. In re Optical Techs., Inc., 246
        F.3d 1332, 1334-35 (11th Cir. 2001).

                As for the counts that went to trial, we review the
        bankruptcy court’s conclusions of law de novo. In re Colortex
        Indus., Inc., 19 F.3d 1371, 1374 (11th Cir. 1994); In re Vann, 67 F.3d
        277, 280 (11th Cir. 1995). We review the bankruptcy court’s
        findings of fact for clear error. In re Chase & Sanborn Corp., 904
        F.2d 588, 593 (11th Cir. 1990). How we review a mixed question of
        law and fact “depends on whether answering it entails primarily
        legal or factual work.” In re Stanford, 17 F.4th 116, 121 (11th Cir.
        2021) (quotation omitted). Our review is de novo when we must
        “expound on the law, particularly by amplifying or elaborating on
        a broad legal standard.” Id. (quotation omitted). But our review is
        for clear error when we must “marshal and weigh evidence, make
        credibility judgments, and otherwise address . . . multifarious,
        fleeting, special, narrow facts that utterly resist generalization.” Id.
        (alteration in original) (quotations omitted). Finally, we review the
        bankruptcy court’s evidentiary rulings for abuse of discretion. See
        In re Int’l Mgmt. Assocs., LLC, 781 F.3d 1262, 1265 (11th Cir. 2015).

                                  III. DISCUSSION
                As a Chapter 7 debtor, Cole is entitled to a discharge of all
        debts unless his Trustee, a creditor, or the United States trustee
        establishes either (1) one of the twelve reasons to deny a discharge
        listed in 11 U.S.C. § 727(a) or (2) that one or more of Cole’s debts
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        should be individually excepted under 11 U.S.C. § 523(a). See 11
        U.S.C § 727(b) (“Except as provided in section 523 of this title, a
        discharge under subsection (a) of this section discharges the debtor
        from all debts that arose before the date of the order for relief under
        this chapter . . . .”).
               PRN pleaded counts under § 727(a) and § 523(a). Because
        success under § 727(a) would prevent Cole from discharging any
        debts—thereby obviating the need to except individual debts under
        § 523(a)—we start by reviewing PRN’s § 727(a) claims.
                       A. Concealment of Property (§ 727(a)(2))
               Section 727(a)(2) 1 prohibits the bankruptcy court from
        granting a discharge if
            (2) the debtor, with intent to hinder, delay, or defraud a
                creditor or an officer of the estate charged with
                custody of property under this title, has transferred,
                removed, destroyed, mutilated, or concealed, or has
                permitted to be transferred, removed, destroyed,
                mutilated, or concealed—
                (A) property of the debtor, within one year before the
                   date of the filing of the petition; or
                (B) property of the estate, after the date of the filing
                   of the petition . . . .


        1 All references to sections refer to Title 11 of the United States Code.
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        The only difference between subsections (A) and (B) is timing: the
        former covers actions taken before the petition is filed; the latter
        covers actions after the petition is filed.
               To block Cole’s discharge under § 727(a)(2)(A), PRN had to
        prove by a preponderance of the evidence “(1) that the act
        complained of was done within one year prior to the date the
        petition was filed, (2) with actual intent to hinder, delay, or defraud
        a creditor, (3) that the act was that of the debtor, and (4) that the
        act consisted on transferring, removing, destroying, or concealing
        any of the debtor’s property.” In re Jennings, 533 F.3d 1333, 1339
        (11th Cir. 2008). To block Cole’s discharge under § 727(a)(2)(B),
        PRN had to prove the same elements by a preponderance of the
        evidence, except the timing on the first element changes from one
        year before the petition is filed to a date after the petition is filed.
               PRN argues that all three of the actions described in Part B
        of the Background section meet these elements. The Court starts
        with the prepetition action.
             1. The Homestead (§ 727(a)(2)(A))
              PRN claims that Cole concealed the value of his lakefront
        property by splitting it into two parcels less than two months
        before filing his bankruptcy petition.2 The bankruptcy court


        2 In its third amended complaint, PRN pleaded concealment of the homestead
        split in Count 8 (§ 727(a)(2)(A)) but not Count 9 (§ 727(a)(2)(B)). PRN’s claim
        is thus confined to concealment that occurred “within one year before the date
        of the filing of the petition,” 11 U.S.C. § 727(a)(2)(A) and does not include
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        rejected this claim, finding that “PRN failed to prove that Cole
        concealed anything” because Cole publicly recorded both deeds
        before filing his petition; he listed both parcels on his postpetition
        schedules; and he told the Trustee about both parcels.
               1. PRN argues that the bankruptcy court erred because it
        applied an unduly narrow definition of conceal. The parties rightly
        note that neither Congress nor this Court has defined conceal
        under 11 U.S.C. § 727(a). We adopt the following definition of
        conceal under § 727(a): “to knowingly withhold information about
        property or to knowingly prevent its discovery.” We do so for
        three reasons.
               First, this definition comports with the plain meaning of the
        word conceal, as shown by dictionary definitions at the time
        Congress enacted the bankruptcy code (1978) and today. See, e.g.,
        Conceal, Oxford English Dictionary Online, https://www.oed.co
        m/dictionary/conceal_v (last visited Oct. 23, 2023) (“1.a. To keep
        (information, intentions, feelings, etc.) from the knowledge of
        others; to keep secret from (formerly also to) others; to refrain
        from disclosing or divulging. 1.b. To keep the nature or identity of
        (a person or thing) secret; to disguise. Now chiefly with as. 2.a. To
        hide (a person or thing); to put or keep out of sight or notice. Also:
        to prevent from being visible”); Conceal, Merriam-Webster
        Dictionary Online, https://www.merriamwebster.com/dictionar


        concealment that occurred “after the date of the filing of the petition.” 11
        U.S.C. § 727(a)(2)(B).
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        y/conceal (last visited Oct. 23, 2023) (“1: to prevent disclosure or
        recognition of . . . . 2: to place out of sight”); Conceal, Webster’s
        Third New International Dictionary (4th ed. 1976) (“1: to prevent
        disclosure or recognition of; avoid revelation of; refrain from
        revealing; withhold knowledge of; draw attention from; treat so as
        to be unnoticed; 2: to place out of sight; withdraw from being
        observed; shield from vision or notice”).
               Second, our sister circuits have similarly defined conceal
        under both § 727(a) and 18 U.S.C. § 152, which each address the
        concealment of assets from the bankruptcy estate. See, e.g., United
        States v. Turner, 725 F.2d 1154, 1157 (8th Cir. 1984) (holding in a §
        152 case that concealment includes “withhold[ing] knowledge, or
        prevent[ing] disclosure or recognition” (quotations omitted));
        United States v. Weinstein, 834 F.2d 1454, 1462 (9th Cir. 1987)
        (affirming a § 152 conviction because concealment element met if
        defendant “withholds knowledge of assets about which the trustee
        should be told” (citation omitted)); United States v. Grant, 971 F.2d
        799, 807 (1st Cir. 1992) (“The crime of concealment includes
        withhold[ing of] knowledge or prevent[ing] disclosure or
        recognition.” (alteration in original) (quotations and emphasis
        omitted)); In re Scott, 172 F.3d 959, 967 (7th Cir. 1999)
        (“Concealment [for the purposes of § 727(a)] . . . includes
        preventing discovery, fraudulently transferring or withholding
        knowledge or information required by law to be made known.”
        (omission in original) (citation omitted)); United States v. Atkins,
        181 F.3d 91 (Table), 1999 WL 397711 (4th Cir. 1999) (finding
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        substantial evidence supported a § 152 conviction when defendant
        diverted funds from escrow account and created false documents
        that showed he had sent the funds to the bankruptcy court); United
        States v. Thayer, 201 F.3d 214, 224-25 (3d Cir. 1999) (upholding jury
        instruction in a § 152 case that defined concealing estate property
        to include “withholding knowledge concerning the existence or
        whereabouts of property, or knowingly doing anything else by
        which the person acts to hinder, delay or defraud any of the
        creditors”), abrogated on other grounds by Skilling v. United
        States, 561 U.S. 358 (2010); United States v. Love, 17 Fed. App’x
        796, 800 n.5 (10th Cir. 2001) (finding concealment of assets from
        creditors when disclosure of transfers of funds “was incomplete
        and the purposes of the transfers were falsely identified”); United
        States v. Wagner, 382 F.3d 598, 609 (6th Cir. 2004) (holding that
        “‘concealing’ property encompasses actions designed to hinder,
        delay, or otherwise obstruct the ability of a trustee to account for
        and distribute the debtor’s estate”).
               Third, we already use this definition in criminal proceedings.
        District courts read the same definition when instructing jurors in
        criminal cases where a debtor is accused of concealing estate
        property from creditors or Trustees:
              ‘Conceal’ has its ordinary sense of ‘to hide’ or ‘to
              prevent recognition’ of something. To ‘fraudulently
              conceal’ property means to knowingly withhold
              information about property or to knowingly prevent
              its discovery while intending to deceive or cheat a
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              creditor or custodian, usually for personal financial
              gain or to cause financial loss to someone else.
        Eleventh Circuit Pattern Jury Instructions (Criminal Cases) O2
        (2022). We have similarly defined conceal when finding that the
        Government offered sufficient evidence of concealment to prove
        money laundering under 18 U.S.C. § 1956(a). See United States v.
        Dennis, 237 F.3d 1295, 1302 (11th Cir. 2001) (The defendant
        “fraudulently concealed property belonging to the bankruptcy
        estate because he knowingly withheld information related to the
        property and acted to prevent the discovery of the property,
        thereby intending to deceive the bankruptcy court, the estate’s
        creditors, or the custodian.”). We see no reason to define
        concealment differently in the civil context. See 6 Collier on
        Bankruptcy ¶ 727.02 (16th ed. 2020) (“Conduct that amounts to a
        concealment from creditors or from an officer of the estate charged
        with custody of property will in general be the same as that which
        constitutes a concealment under section 152 of title 18, United
        States Code. Cases decided under section 152 will afford helpful
        analogies in determining what amounts to a concealment.”).
               2. Using this definition, the bankruptcy court did not err in
        finding that Cole did not conceal his property by splitting it into
        two parcels because PRN presented no facts that show Cole
        knowingly withheld information related to the property or acted
        to prevent the discovery of the property. To the contrary, Cole
        publicly recorded both deeds and continued to pay taxes on the
        whole property. After Cole filed his petition, Cole told the Trustee
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        about the split and listed both parcels in his schedules.
                Because Cole did not conceal property within one year of
        filing his petition, we agree with the bankruptcy court that PRN
        failed to prove its § 727(a)(2)(A) claim.
           2. Coledev (§ 727(a)(2)(B))
               1. As detailed in the Background section, supra at 6-7, Cole
        used Coledev LLC as his primary operating business from 2012
        until he filed his petition in 2015. Bill and Terre Cole owned 99%
        of Coledev as a tenancy by the entirety and put millions of dollars
        into Coledev. The Coles would receive large sums of money back,
        likely when one of Cole’s real estate projects ended.
               In his schedules, Cole accurately disclosed the Coles’ interest
        in Coledev, and he listed Coledev’s value as undetermined. PRN
        claims that Cole should have also disclosed that the advances Cole
        made to Coledev were repayable shareholder loans. PRN argues
        that Cole’s failure to list the advances as shareholder loans
        (available to the estate) amounts to the intentional, postpetition
        concealment of property done to defraud Cole’s creditors and
        Trustee under § 727(a)(2)(B). Cole retorts that he correctly treated
        the advances as capital contributions, not shareholder loans, and
        thus had no intent to hinder, delay, or defraud his creditors or the
        Trustee.
               2. The parties presented competing fact and expert
        testimony at trial. PRN introduced Cole’s accounting records that
        labeled the advances as “shareholder loans payable.” PRN
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        introduced Coledev’s 2014 and 2015 tax records that treated the
        advances as shareholder loans. PRN presented Terre Cole’s
        deposition testimony that she believed the advances were
        shareholder loans. And PRN offered an expert who opined that the
        advances were shareholder loans.
               On the other hand, Cole testified that the advances were
        capital contributions. To bolster his testimony, Cole pointed out
        that he never created a promissory note for repayment; no interest
        accrued on the advances; Coledev’s 2012 and 2013 tax returns
        treated the advances as “additional paid-in capital”; and Coledev’s
        2013 and 2014 financial statements did not show any shareholder
        loans from Cole to Coledev. Cole also presented an expert who
        opined that the advances were equitable contributions, not
        shareholder loans.
               The Trustee testified that Cole did not hide or conceal any
        assets from her. She testified that she knew about Coledev once
        Cole disclosed his tax returns. She testified that she could ask Cole
        about Coledev’s postpetition operations, and that Cole was
        cooperative and supplied all of the Coledev-related information
        that she requested. Based on the information Cole provided, the
        Trustee testified that she managed to object to Cole’s claimed
        exemption of Coledev and propose a settlement of the issue. 3


        3 The Trustee also testified that a third party told her that, in practice, the
        terms “shareholder loans” and “capital contributions” are used
        interchangeably. PRN objects that this testimony should not have been
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               After reciting this evidence, the bankruptcy court found that
        PRN failed to prove that “Cole concealed any property after this
        bankruptcy case was filed intending to hinder, delay, or defraud his
        creditors under § 727(a)(2)(B).”
               3. We read the bankruptcy court’s ruling to find that PRN
        failed to meet its burden of proof on both the intent and
        concealment elements. We affirm both findings.
               As for concealment, the bankruptcy court did not clearly err
        in finding that Cole had not “knowingly withheld information
        related to the property or acted to prevent the discovery of the
        property” when he did not label his advances to Coledev as
        shareholder loans. The bankruptcy court could reasonably rely on
        the Trustee’s testimony that Cole did not hide or conceal any
        information from her and that she discovered the ‘loan versus
        equity’ issue once Cole disclosed his tax returns to find that Cole
        was not concealing information. This finding is bolstered by the
        Trustee’s testimony that Cole provided her with any information
        or documents she asked for.
               As for intent, the bankruptcy court did not clearly err in
        finding that Cole did not intend to “hinder, delay, or defraud” PRN
        or the Trustee when he did not label his advances to Coledev as
        shareholder loans. 11 U.S.C. § 727(a)(2). The bankruptcy court
        heard Cole’s testimony and found that Cole lacked a fraudulent

        allowed because it was based on hearsay. We do not rely on this testimony to
        reach our conclusions, so we needn’t consider the evidentiary objection.
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        intent. The bankruptcy court also heard and found credible the
        Trustee’s testimony that Cole had concealed no information from
        her and had cooperated with her when she had questions about
        Coledev. When this Court “examine[s] the facts adduced at trial,
        generally we will not disturb a bankruptcy court’s credibility
        determinations.” In re Kane, 755 F.3d 1285, 1288 (11th Cir. 2014).
        We find no reason to second guess the bankruptcy court’s
        credibility findings, especially when other evidence (e.g., the lack
        of a promissory note or accrued interest) supports Cole’s belief that
        he was making equitable contributions rather than loans to
        Coledev.
              Because we find no error in the bankruptcy court’s findings
        about concealment and Cole’s intent, we affirm its denial of relief
        under 11 U.S.C § 727(a)(2)(B).
             3. COLP (§ 727(a)(2)(B))
               1. As explained in the Background section, supra at 4-6,
        Cole created COLP to hold the Coles’ personal investments. Cole
        transferred about $4 million from COLP into the Coles’ tenancy by
        the entireties in December 2011 and January 2012. Cole says that
        he decided to close COLP in 2010 and that the $4 million transfers
        that began in late 2011 were part of the winding down of COLP.
               While Cole disclosed 14 businesses in his schedules, he did
        not disclose COLP or its 1% general partner, W&T Cole, LLC.
        PRN alleged that Cole violated § 727(a)(2)(B) by concealing COLP
        to hide the $4 million transfers from his creditors and the Trustee.
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               In a separate proceeding, the Trustee filed a claim against
        Cole to recover Cole’s personal interest in the $4 million COLP
        transfers, arguing that Cole made the $4 million transfer to hinder
        PRN’s collection efforts. See 11 U.S.C § 544(b)(1) (allowing the
        Trustee to avoid transfers made by the debtor that are voidable
        under applicable state law).
               2. Cole testified about COLP twice at trial. Cole told Judge
        Jackson that his failure to disclose COLP was an “inadvertent
        mistake.” After assuming the case, Judge Jennemann recalled Cole
        and the Trustee to ask more questions about COLP. Cole told
        Judge Jennemann that he missed COLP because he had several
        entities that contained the name “Cole”; COLP was not listed in his
        record of Florida businesses because COLP was a Nevada
        partnership; and COLP had no valuable assets when he filed his
        petition. Cole also pointed out that he listed COLP as a co-obligor
        in another schedule; he disclosed the existence of an account held
        by COLP at his creditors meeting; and he gave the Trustee COLP’s
        financial records when they discovered that Cole omitted COLP
        from his list of businesses.
                The Trustee testified that Cole should have listed COLP on
        his schedules and that she (the Trustee) could not focus on COLP
        initially because of the omission. But the Trustee confirmed that
        Cole gave her testimony and documents about the $4 million
        COLP transfers the next time she saw Cole after COLP was
        discovered during the creditors’ meeting.
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               3. The bankruptcy court (Judge Jennemann) ruled on the
        Trustee’s claim and PRN’s claim in separate orders. In the Trustee
        proceeding, the court found that the Trustee proved that Cole
        transferred the $4 million from COLP to his tenancy by the
        entireties in late 2011 to hinder PRN’s ability to collect on Cole’s
        debts to PRN. As a result, the court granted partial summary
        judgment for the Trustee and ordered a trial to determine Cole’s
        interest in the $4 million so that amount could be recovered for the
        estate. See 11 U.S.C. § 550(a) (allowing the Trustee to recover
        avoided transfers from the recipient). The parties settled that claim
        before trial.
               In this case, the bankruptcy court found that PRN failed to
        prove that Cole omitted COLP from his list of businesses in 2015
        with the intent to hinder, delay, or defraud PRN or the Trustee.
        The court found Cole to be “forthright and candid” during his
        supplemental testimony and found that his testimony was
        “credible and believable.” The court found that Cole’s initial listing
        of COLP in a different part of his schedules and Cole’s prompt
        disclosure of COLP’s records once the omission was discovered
        disproved PRN’s theory that Cole was trying to hide COLP. So the
        court rejected PRN’s postpetition concealment claim under §
        727(a)(2)(B).
               4. We affirm. The bankruptcy court based its ruling largely
        on a credibility determination. As stated, we generally defer to the
        bankruptcy court’s credibility determinations. See Kane, 755 F.3d
        at 1288. Knowing this, PRN argues that we should not apply
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        standard deference here because (a) Judge Jennemann told Cole
        that she wanted more testimony about the COLP omission, so
        Cole had time to prepare his supplemental answers, and (b) Cole
        testified by live video (Zoom), rather than in person, so the court
        was less capable of judging his demeanor.
               Cole argues that PRN waived these arguments because PRN
        did not object to Judge Jennemann taking supplemental testimony,
        or taking the supplemental testimony by Zoom, during the
        bankruptcy court proceedings. PRN did not address waiver in its
        reply brief. Because PRN does not point to its objections to the
        bankruptcy court, and we have not found any, we find that PRN
        waived both arguments. See Telfair v. First Union Mortg. Corp.,
        216 F.3d 1333, 1337 n.6 (11th Cir. 2000) (arguments raised to this
        Court and the district court, but not the bankruptcy court, will not
        be heard on appeal).
                We also find both arguments meritless. Judge Jennemann
        did not err by telling the parties the topic for reexamination. Nor
        was her order prejudicial. Cole has known that PRN or the
        bankruptcy court could question him about his failure to list COLP
        in his schedules since PRN pleaded the allegation in its complaint.
        Telling Cole that the court wanted more testimony on a known
        topic did not prejudice PRN.
                Nor does taking testimony by Zoom diminish the
        bankruptcy court’s credibility findings. We generally defer to the
        trier of fact’s credibility determination because the fact finder heard
        the witness’s testimony and saw his demeanor, while we are stuck
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        with a “cold paper record.” United States v. Peters, 403 F.3d 1263,
        1270 (11th Cir. 2005). While we agree that in-person testimony is
        preferable to a live video stream, the bankruptcy court could hear
        Cole testify and watch his demeanor live. Because PRN did not
        object to the Zoom feed at the time, we must assume that the court
        was able to judge Cole’s credibility the same as if Cole was sitting
        in the witness box. And whatever the quality of the feed, the live
        video stream gave the bankruptcy court greater insight into Cole’s
        credibility than the cold paper record gives us. See id.
               We thus give due regard to the bankruptcy court’s
        determination that Cole’s testimony was “credible and believable.”
        Having reviewed the record, we cannot hold that this finding is
        clearly erroneous. As the bankruptcy court noted, Cole’s testimony
        is backed by Cole’s listing of COLP in a different part of the
        schedules, followed by his disclosure of COLP and COLP records
        in later meetings with the Trustee and creditors. While the
        bankruptcy court’s finding that Cole fraudulently transferred
        COLP’s assets in 2011-2012 to shield it from PRN gives us reason
        to question whether Cole knowingly concealed COLP’s existence
        in 2015 to cover up his earlier fraud, it is apparent from the record
        that the bankruptcy court had the same concern. Unlike this Court,
        the bankruptcy court could recall Cole to ask him about his 2015
        actions, and the court believed his answers. Because certain
        evidence supports that finding, we affirm it.
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                            B. False Oath (§ 727(a)(4))
               Section 727(a)(4) precludes the bankruptcy court from
        granting a discharge if the court finds, in relevant part, that “the
        debtor knowingly and fraudulently, in or in connection with the
        case, made a false oath or account. . . .” A debtor can make a false
        oath in his petition, in his schedules, at creditor meetings, and
        when giving sworn testimony. See, e.g., In re Chalik, 748 F.2d 616,
        617-19 (11th Cir. 1984) (affirming the bankruptcy court’s finding
        that the debtor omitted relevant businesses from his schedules); In
        re Whigham, 770 Fed. App’x 540, 545-46 (11th Cir. 2019) (affirming
        the bankruptcy court’s finding that the debtor made a false oath in
        court filings and during questioning); Collier on Bankruptcy, supra,
        ¶ 727.04 (“The false oath that is a sufficient ground for denying a
        discharge may consist of (1) a false statement or omission in the
        debtor’s schedules or (2) a false statement by the debtor at an
        examination during the course of the proceedings.”). The false oath
        must be fraudulent and material. Chalik, 748 F.2d at 618.
               PRN argues that Cole made false oaths in connection with
        the same three actions discussed in the previous section. We
        discuss the claims in the same order as before.
           1. The Homestead
              PRN argues that Cole made two false oaths related to his
        homestead property: (1) Cole wrongly described his property as
        two parcels in his schedules, and (2) Cole lied when he testified that
        he divided the property because he believed the State of Florida
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        owned the submerged land. The bankruptcy court found that PRN
        failed to plead this false oath claim in its operative complaint and
        that, even if it had, PRN failed to prove its claim. This Court
        reviews the pleading ruling de novo, and we review the merits
        ruling for clear error. We affirm both.
                1. We start with pleading. Because fraud is a necessary
        element in a false oath claim, PRN had to meet the heightened
        pleading standard of Rule 9(b) of the Federal Rules of Civil
        Procedure. See Fed. R. Bankr. P. 7009 (“Rule 9 F.R.Civ.P. applies
        in adversary proceedings.”). PRN pleaded its false oath claim in
        Count 11. After incorporating 66 paragraphs of general allegations,
        some of which described the homestead division, PRN pleaded the
        rest of Count 11 like this:
              The Debtor knowingly and fraudulently, in or in
              connection with this case has made multiple false
              oaths and accounts, including: i) failing to include all
              assets in his Schedules and SOFA while testifying
              under oath they were accurate; ii) failing to provide
              accurate information with respect to his income; iii)
              claiming that he is utilizing assets he claims are owed
              as tenancies-by-the-entirety in order to fund his
              lifestyle; and iv) claiming that Coledev is owned as
              tenancy by the entireties while recently stating under
              oath he was the sole owner of the same.
              Based upon the foregoing, Plaintiff seeks a declaration
              and determination that the Debtor is not eligible for
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              a discharge under Section 727(a)(4)(A) of the
              Bankruptcy Code.
        While some paragraphs PRN incorporated from another part of
        the complaint described the homestead division, PRN did not
        mention Cole’s homestead division in Count 11. PRN instead listed
        four other actions or failures to act. PRN thus failed to put Cole on
        notice that PRN intended to pursue a homestead-based false oath
        claim at trial.
               PRN perpetuated the limited scope of its false oath claim
        when it failed to mention Cole’s homestead division as part of the
        claim in its pretrial brief and its posttrial brief. PRN did not
        associate the homestead division with its false oath claim until it
        responded to the bankruptcy court’s invitation to comment on its
        preliminary posttrial opinion.
               We agree with the bankruptcy court that PRN failed to
        plead with the requisite particularity a false oath claim based on
        Cole’s homestead division before trial. And we find no error in the
        bankruptcy court’s refusal to amend PRN’s complaint after trial to
        add a homestead-based false oath claim under Rule 15(b). Rule
        15(b) requires Cole’s express or implied consent to the
        amendment. Cole has not expressly consented to the amendment;
        he objects to it. And courts will not find implied consent “if the
        defendant had no notice of the new issue, if the defendant could
        have offered additional evidence in defense, or if the defendant in
        some other way was denied a fair opportunity to defend.” Cioffe v.
        Morris, 676 F.2d 539, 541-42 (11th Cir. 1982). The bankruptcy court
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        found that it would be unfair and prejudicial to allow PRN to “fix”
        its pleading deficiency after the court took evidence and issued its
        preliminary opinion. This finding of prejudice is supported by the
        record and thus precludes amendment by implied consent under
        Rule 15(b).
                2. Even if PRN pleaded a false oath claim related to Cole’s
        homestead division, the bankruptcy court did not clearly err when
        it alternatively rejected the claim on the merits. The bankruptcy
        court found that Cole did not make a false oath when he listed his
        property as two parcels in his schedule because, at the time, Cole’s
        property was legally divided into two parcels. Plus, Cole’s attorney
        told the Trustee about the division before Cole filed his schedule,
        thus belying any argument that Cole fraudulently listed his
        property as two parcels. Having reviewed the record, we find no
        clear error with these findings.
               As for Cole’s testimony that he believed Florida owned the
        submerged land, Judge Jennemann noted that Judge Jackson had
        not ruled whether Cole or PRN was correct about ownership of
        submerged lands; she instead stated that both parties presented
        “reasoned arguments” and the issue was “both fascinating and
        complex.” Based on Judge Jackson’s statement that Cole’s position
        was “reasoned,” Judge Jennemann found it impossible to rule that
        Cole fraudulently testified under oath during the homestead
        exemption trial (which Judge Jackson observed) or during this trial
        (which Judge Jennemann observed). As stated, we generally defer
        to the credibility determinations of the bankruptcy courts. Because
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        the court did not find that Cole testified falsely under oath, we find
        no clear error in the bankruptcy court’s rejection of PRN’s
        testimony-based false oath claim.
                                         —
               To sum up, we find that PRN did not plead a false oath claim
        related to Cole’s homestead division and was not entitled to a
        posttrial amendment to add that claim. Further, the bankruptcy
        court did not clearly err in its alternative ruling that PRN failed to
        prove a false oath claim related to Cole’s homestead division. So
        we affirm the bankruptcy court’s ruling on both grounds.
           2. Coledev
               Again, PRN argues that Cole should have listed his $1
        million in advances to Coledev as “shareholder loans payable.”
        PRN thus alleges that, when Cole signed his schedules as true and
        correct, despite not listing the Coledev advances as shareholder
        loans payable, he knowingly and fraudulently made a false oath in
        violation of § 727(a)(4).
               The bankruptcy court found that Cole reasonably believed
        that the advances were equitable contributions, not shareholder
        loans. The court thus found that PRN failed to prove that Cole had
        an intention of hindering, delaying, or defrauding his creditors or
        the Trustee.
               False oath claims under § 727(a)(4) are similar, but a bit
        broader, than concealment claims under § 727(a)(2) because the
        intent to defraud needn’t be targeted at anyone, including the
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        creditors and Trustee. See Collier on Bankruptcy, supra, ¶ 727.04.
        But that distinction does not matter here because the bankruptcy
        court found that Cole honestly believed that the advances were
        capital contributions, meaning that he had no fraudulent intent
        when he did not list the advances as shareholder loans.
               Further, “[a] debtor coming forward of his or her own
        accord to correct an omission is strong evidence that there was no
        fraudulent intent in the omission.” Id. The Trustee testified that,
        once the Coledev issue was identified, Cole was cooperative and
        supplied all of the Coledev-related information that she requested.
        The bankruptcy court found the Trustee’s testimony credible.
               We find no reason to second guess the bankruptcy court’s
        credibility findings, especially when other evidence (e.g., the lack
        of a promissory note or accrued interest) supports Cole’s belief that
        he made equitable contributions to Coledev. We thus affirm the
        rejection of PRN’s false oath claim for failure to prove a knowing
        and fraudulent intent.
             3. COLP
                Finally, PRN claims that Cole violated § 727(a)(4) when he
        signed his Statement of Financial Activities as true and accurate
        despite failing to list COLP and its 1% partner, W&T Cole, LLC on
        his list of businesses. The bankruptcy court rejected this claim
        because it found Cole’s omission of COLP to be “inadvertent—not
        intentional.”
               As detailed supra at 25, Judge Jennemann had reservations
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        about Cole’s initial testimony on COLP, so she recalled him to
        testify on the topic. Judge Jennemann found Cole to be “forthright
        and candid,” and she found his testimony “credible and believable.”
        The bankruptcy court therefore found that PRN failed to prove
        that Cole intentionally and fraudulently left off COLP from his list
        of businesses.
               For the same reasons discussed in the concealment section,
        supra at 27-29, we affirm. The bankruptcy court is in a better
        position than this Court to judge Cole’s credibility, and we find no
        clear error in its determination that Cole did not knowingly and
        fraudulently omit COLP in violation of § 727(a)(4).
                                          —
               In sum, we affirm all of the bankruptcy court’s rulings under
        11 U.S.C. § 727(a), meaning that Cole was entitled to a discharge of
        all debts, minus any individual debt excepted under 11 U.S.C. § 523.
        See 11 U.S.C. § 727(b). We now turn to PRN’s claim to except a
        debt under § 523(a)(2)(A), the so-called “Husky” claim.
                          C. Husky Claim (§ 523(a)(2)(A))
                Fraudulent transfers generally involve two parties: the
        transferor and the recipient. Bankruptcy debtors are usually the
        transferor trying to conceal assets from creditors and the estate.
        Four code provisions cover this scenario. If the debtor transferred
        assets less than a year before filing his bankruptcy petition, or after
        he filed his petition, then § 727(a)(2) allows the Trustee or a creditor
        to seek total preclusion of a discharge. If the transfer occurred less
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        than two years before the debtor filed his petition, then § 548(a)(1)
        allows the Trustee to nullify the transfer, and § 550(a) allows the
        Trustee to retrieve the money for the estate. If the transfer
        occurred more than two years before the debtor filed his petition,
        then § 544(b)(1) allows the Trustee to seek the same remedies
        (avoidance and retrieval) if the transfer is voidable under state law.
               While these provisions cover the usual scenario of debtors
        transferring assets, sometimes the debtor receives a fraudulent
        transfer. That’s where § 523(a)(2) kicks in. If someone sends the
        bankruptcy debtor money to fraudulently avoid his debt, the party
        owed the money can have the debt excepted from the recipient
        debtor’s discharge—if the creditor can show that, under state law,
        the recipient took on the sender’s debt.
               The proceedings below and before this Court reveal much
        confusion about the interplay among these provisions. So we
        create this chart to highlight the key distinctions:
                                11 U.S.C. § 727(a)(2)
         Fraud. transfer:    Bankruptcy Debtor                 Third Party
         Timing of fraud: Within one year of filing or postpetition
         Relief:             No discharge of any debt
         Who can file:       Trustee, Creditor, or U.S. Trustee
                               11 U.S.C. § 548(a)(1)(A)
          Fraud. transfer: Bankruptcy Debtor                   Third Party
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         Timing of fraud: Within two years before filing the petition
         Relief § 548:       Avoidance (nullification) of transfer
         Relief § 550(a):    Estate               Third Party
         Who can file:       Trustee
                                11 U.S.C. § 544(b)(1)
          Fraud. transfer: Bankruptcy Debtor                    Third Party
         Timing of fraud: Governed by applicable state law
         Relief § 544:       Avoidance (nullification) of transfer
         Relief § 550(a):    Estate               Third Party
         Who can file:       Trustee
                               11 U.S.C. § 523(a)(2)(A)
          Fraud. transfer: Third Party                    Bankruptcy Debtor
         Timing of fraud: Governed by applicable state law
         Relief:             Except discharge of traceable debt
         Who can file:       Creditor
               In separate proceedings, PRN and the Trustee invoked one
        of these provisions to challenge the $4 million COLP transfers. The
        Trustee sought to nullify the transfers under § 544(b)(1) and
        retrieve Cole’s personal interest in the money under § 550(a)(1).
        The Trustee and Cole settled this claim for $350,000.
              In Count 3, PRN sought to except a debt that, PRN claims,
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        Cole assumed from COLP under § 523(a)(2)(A). 4 PRN alleged that
        when Cole caused COLP to transfer $4 million to the Coles’ TBE
        account, Cole obtained both COLP’s money and COLP’s
        contribution debt to PRN arising from PRN’s payment of the
        SunTrust loans. PRN did not ask to retrieve or set aside Cole’s
        personal interest in the $4 million transfer. 5 Rather, PRN asked for
        a discharge exception so that it can collect COLP’s contribution
        debt from Cole.
                 The bankruptcy court summarily dismissed Count 3, finding
        “that PRN is asking for a cause of action that just isn’t there, and to
        the extent that it ever could be there, it would belong to the
        Trustee.” We understand the bankruptcy court’s ruling to mean
        that (a) PRN failed to plead a viable claim under § 523(a)(2)(A) but,
        if it did, (b) the Trustee’s action to avoid the transfer under § 544(b)
        and to retrieve Cole’s personal interest in COLP’s assets under §
        550(a) preempted PRN’s § 523(a)(2)(A) discharge exception claim.
        As a result, the bankruptcy court did not consider the merits of

        4 PRN pleaded various challenges to the COLP transfers in Counts 3-6 of its
        complaint. The district court held that PRN waived Counts 4-6 on appeal
        because of inadequate briefing. PRN does not challenge that ruling in its briefs,
        and PRN expressly dropped Counts 5-6 in its opening brief. PRN primarily
        focused on Count 3 in its later briefing and at argument. So we limit our
        review to Count 3. Counts 4-6 remain dismissed.
        5 Unlike Count 3, PRN requested that Cole’s 49.5% personal interest in
        COLP’s assets be deemed non-dischargeable in Count 4. This may explain
        why the bankruptcy and district courts held that the Trustee’s action
        preempted Cole’s action and why Cole shies away from that count on appeal.
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        PRN’s claim.
               As explained below, we find that the bankruptcy court erred
        on both counts: viability and preemption. To explain why, though,
        we must first dive deeper into § 523(a)(2)(A) and the case that lends
        its name to claims filed under that provision: Husky Int’l Elecs., Inc.
        v. Ritz, 578 U.S. 355 (2016).
           1. Defining a Husky claim
               Pared down to its relevant part, § 523(a)(2)(A) says that an
        otherwise complete discharge under § 727 “does not discharge an
        individual debtor from any debt . . . for money . . . to the extent
        obtained by . . . actual fraud.” The Supreme Court has clarified that
        the phrase “to the extent obtained by” modifies “money,” not “any
        debt.” Cohen v. de la Cruz, 523 U.S. 213, 218 (1998). Section
        523(a)(2)(A) thus “turns on how the money was obtained.”
        Bartenwerfer v. Buckley, 598 U.S. 69, 72 (2023). If the debtor
        obtained money by actual fraud, then “any debts ‘traceable to’ the
        fraudulent conveyance will be nondischargeable under §
        523(a)(2)(A).” Husky, 578 U.S. at 365 (citations omitted).
              To define a viable claim under this provision, we look to the
        Supreme Court’s decision in Husky and our most detailed
        treatment of Husky: In re Gaddy, 977 F.3d 1051 (11th Cir. 2020).
              1. Husky shares an important fact with this case: The
        bankruptcy debtor, Daniel Ritz, used companies he controlled to
        both send and receive money by actual fraud. Ritz was the director
        and 30% owner of Chrysalis Manufacturing Corp. Husky, 578 U.S.
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        at 357. Chrysalis bought electronic parts from Husky International
        Electronics. Id. Chrysalis owed Husky about $164,000 when Ritz
        used his power as Chrysalis’ director to transfer at least $270,000 to
        other businesses Ritz controlled, making Chrysalis unable to pay
        its $164,000 debt to Husky when Chrysalis filed for bankruptcy. Id.
        at 357-58.
               Husky sued Ritz under a Texas veil piercing statute that
        makes shareholders liable for corporate debts if the shareholder
        committed actual fraud. See Tex. Bus. Orgs. Code Ann. § 21.223(b).
        Ritz later filed for Chapter 7 bankruptcy, and Husky filed a claim
        for exception under 11 U.S.C. § 523(a)(2)(A), arguing that under
        Texas’s veil piercing statute, Ritz obtained Chrysalis’ debt to Husky
        when he caused Chrysalis to transfer money to other Ritz-owned
        companies. Husky, 578 U.S. at 358.
               The district court agreed with Husky that Ritz was liable for
        Chrysalis’ debt under Texas law but held that § 523(a)(2)(A) did not
        apply because Ritz did not obtain Chrysalis’ debt by actual fraud.
        Id. at 358. The Fifth Circuit affirmed, finding that Ritz did not
        commit actual fraud because the transfer of money from one Ritz
        company to other Ritz companies did not involve a fraudulent
        misrepresentation. Id. at 358-59.
              The Supreme Court reversed, finding that “actual fraud . . .
        can be effected without a false representation.” Id. at 359
        (quotations omitted). Actual fraud “is not in dishonestly inducting
        a creditor to extend a debt. It is in the acts of concealment and
        hinderance.” Id. at 362.
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               After rejecting the Fifth Circuit’s rationale, the Court then
        tackled two other arguments relevant here. First, the Court
        rejected Ritz’s argument that Husky’s reading of § 523(a)(2)(A)
        made the provision redundant with § 727(a)(2). The Court noted
        that, while both provisions “could cover some of the same conduct,
        they are meaningfully different” in scope and timing. Id. at 364. As
        for scope, the Court noted that relief under § 727(a)(2) is the
        broader, “blunt remedy” of blocking the discharge of any debt. Id.
        As for timing, the Court noted that a § 727(a)(2) claim arises only
        in the year before the petition is filed, a limitation that does not
        apply to § 523(a)(2)(A). Id. Because the two provisions differ in
        timing and scope of relief, creditors can use either (if available).
               Second, the Court rejected Ritz’s argument that debts are
        not “obtained by” a fraudulent transfer of monies because the
        person who sent the money—the transferor—was already in debt
        to the creditor when the transfer occurred:
              It is of course true that the transferor does not ‘obtain’
              debts in a fraudulent conveyance. But the recipient of
              the transfer—who, with the requisite intent, also
              commits fraud—can ‘obtain’ assets ‘by’ his or her
              participation in the fraud. If that recipient later files
              for bankruptcy, any debts ‘traceable to’ the fraudulent
              conveyance will be nondischargeable under §
              523(a)(2)(A). Thus, at least sometimes a debt
              ‘obtained by’ a fraudulent conveyance scheme could
              be nondischargeable under § 523(a)(2)(A). Such
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              circumstances may be rare because a person who
              receives fraudulently conveyed assets is not
              necessarily (or even likely to be) a debtor on the verge
              of bankruptcy, but they make clear that fraudulent
              conveyances are not wholly incompatible with the
              ‘obtained by’ requirement.
        Id. at 365 (citations and footnote omitted) (cleaned up). In short,
        the Court agreed that § 523(a)(2)(A) cannot apply to the party who
        fraudulently transferred money because his debt preexisted the
        fraud. But while it “may be rare,” id., § 523(a)(2)(A) can apply to
        the party who received the money because his debt resulted from
        the fraudulent transfer.
               The Supreme Court remanded the case to the Fifth Circuit,
        who in turned remanded to the bankruptcy court to determine
        whether Ritz assumed Chrysalis’ debt to Husky under Texas’s veil
        piercing law. See In re Ritz, 832 F.3d 560, 565-66 (5th Cir. 2016).
        The bankruptcy court tried the case and found that, through actual
        fraud, Ritz “became personally liable to Husky by virtue of the
        Texas veil-piercing statute.” In re Ritz, 567 B.R. 715, 773 (Bankr.
        S.D. Tex. 2017). Because Ritz’s debt could be traced to his
        fraudulent receipt of money, the bankruptcy court held that §
        523(a)(2)(A) precluded Ritz from discharging the debt. Id.
              2. Our Gaddy decision starts with facts similar to this case.
        The bankruptcy debtor, Jerry Gaddy, took part in a real estate
        development project. In 2006, Gaddy’s business, Water’s Edge
        LLC, received two loans from Vision Bank, who we will call SEPH
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        going forward based on a later merger. Gaddy, 977 F.3d at 1054.
        Gaddy personally guaranteed the SEPH loans for just over $10
        million when they were made, then increased his guarantee to
        $12.5 million in 2008. Id.
               The project had more than 30 guarantors, including Gaddy.
        The project became troubled in 2009, and SEPH warned the
        guarantors of potential default. Less than two weeks later, Gaddy
        started transferring property to an LLC he created for his wife and
        daughter. Id. Gaddy continued these transfers through 2014.
                Water’s Edge defaulted on the SEPH loans in 2010. So SEPH
        demanded Gaddy pay the loans as the guarantor, and SEPH sued
        Water’s Edge, Gaddy, and other guarantors to reclaim its losses on
        the project. SEPH won the lawsuit, including a $9.1 million
        judgment against Gaddy. Id. All the while, Gaddy kept transferring
        assets to his wife and daughter.
               So SEPH sued Gaddy and his wife (and later their daughter)
        under Alabama’s fraudulent transfer law. Id. Gaddy, in turn, filed
        for Chapter 7 bankruptcy. Id. Relying on Husky, SEPH argued that
        the transfers from Gaddy to his family amounted to actual fraud,
        thus requiring the bankruptcy court to except SEPH’s $9.1 million
        judgment against Gaddy under § 523(a)(2)(A). The bankruptcy
        court rejected the exception, finding that SEPH could not allege or
        prove that Gaddy’s debt to SEPH “was obtained by fraud or was
        anything other than a standard contract debt.” Id. at 1055.
              We affirmed. We noted that, “for a debt to be exempt from
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        discharge under § 523(a)(2)(A), the money or property giving rise
        to the debt must have been ‘obtained by’ fraud, actual or
        otherwise.” Id. at 1057. But the “Water’s Edge debt existed long
        before Gaddy began transferring his assets, and that debt is an
        ordinary contract debt that did not arise from fraud of any kind.”
        Id. at 1058. In other words, Gaddy’s debt was not traceable to the
        fraudulent transfer of money to his family; Gaddy’s debt resulted
        from the non-fraudulent guarantee of the SEPH loans. So §
        523(a)(2)(A) could not apply.
                                           —
                Taken together, Husky and Gaddy teach that, for a creditor
        to except a debt under § 523(a)(2)(A), the creditor must show that
        (a) the bankruptcy debtor obtained money, property, or services by
        actual fraud; and, (b) the debt to be excepted resulted from the
        debtor’s fraudulent receipt. 6 Further, § 523(a)(2)(A) can only apply
        to the recipient of a fraudulent transfer because the transferor did
        not “obtain” money, property, or services, and his debt necessarily
        resulted from an earlier event.
               With these requirements in mind, we now turn to the
        bankruptcy court’s ruling that PRN failed to plead a viable Husky
        claim, or if it did, the Trustee’s action preempted PRN’s claim.



        6 As long as fraud was involved when the debtor obtained the assets, the
        debtor need not be the party who committed the fraud for § 523(a)(2)(A) to
        apply. See Bartenwerfer, 598 U.S. at 83.
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           2. Viability
              We find that PRN pleaded a viable claim of exception under
        § 523(a)(2)(A). PRN alleges that Cole obtained money by actual
        fraud—i.e., the transfer of money from a non-exempt limited
        partnership to an exempt TBE account to hinder PRN’s claim for
        the money. And PRN alleges that, under state law, Cole took on
        COLP’s debt when he fraudulently obtained COLP’s money.
              Placing PRN’s allegations in our chart shows that PRN’s
        claim mirrors the claim in Husky, not Gaddy:
                    Husky’s § 523(a)(2)(A) Claim against Ritz
         Original debt:      Chrysalis owes Husky
         Fraud. transfer:    Chrysalis       Ritz-controlled companies
         Traceable debt:     Yes. Under Texas law, Ritz took on Chrysalis’
                             debt because of the fraud.
                    PRN’s § 523(a)(2)(A) Claim against Cole
         Original debt:      COLP owes PRN a contribution debt
         Fraud. transfer:    COLP              Cole’s TBE
         Debt transfer:      Yes. Under Nevada law, Cole took on
                             COLP’s debt because of the fraud.
                   SEPH’s § 523(a)(2)(A) Claim against Gaddy
         Original debt:      Gaddy owes SEPH via loan guarantee
         Fraud. transfer:    Gaddy            Gaddy’s wife and daughter
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         Traceable debt:    No. Gaddy already had the debt.
        Because PRN’s claim fits within the plain language of § 523(a)(2)(A)
        and mirrors the Husky claim in all relevant parts, we find that the
        bankruptcy court erred when it found that PRN did not plead a
        viable cause of action in Count 3.
                We also disagree with the district court’s additional findings
        that (a) PRN pleaded transferor liability, rather than recipient
        liability, and (b) under state law, Cole could not obtain COLP’s
        debt when he obtained COLP’s money by actual fraud. To explain
        why, we must first choose between PRN’s alternate pleading of
        Nevada and Florida law.
                1. Nevada’s alter ego law applies. Circuit courts have split
        when choosing between federal and state choice of law rules in
        bankruptcy. See In re First River Energy, LLC, 986 F.3d 914, 924
        n.19 (5th Cir. 2021) (noting the split). In an unpublished opinion,
        we have stated that federal courts apply the forum state’s choice of
        law rules in bankruptcy cases. Mukamal v. Bakes, 378 Fed. App’x
        890, 896 (11th Cir. 2010). But we needn’t decide whether to
        officially adopt that rule here because both federal and Florida law
        tell us to apply the Restatement (Second) of Conflict of Laws and
        thus would lead to the same result. See Bishop v. Fla. Specialty
        Paint Co., 389 So. 2d 999, 1001 (Fla. 1980) (looking to the
        Restatement (Second) for choice of law issues); First River Energy,
        986 F.3d at 924 (not deciding between Texas or federal choice of
        law rules because both bodies of law reached the same result by
        pointing to the Restatement (Second)).
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               The Restatement says that courts must follow “a statutory
        directive of its own state on choice of law.” Restatement (Second)
        of Conflict of Laws, § 6(1) (Am. Law Inst. 1977). If the state has not
        adopted a statute that directs the choice of law, the Restatement
        requires courts to consider seven factors listed in § 6(2).
               Florida has a statute on point, so the statute controls. Id. §
        6(1). COLP is a limited partnership organized in Nevada. Section
        620.1901(1) of the Florida Statutes provides that “[t]he laws of the
        state or other jurisdiction under which a foreign limited
        partnership is organized govern relations among the partners of the
        foreign limited partnership and between the partners and the
        foreign limited partnership and the liability of partners as partners
        for an obligation of the foreign limited partnership.” (emphasis
        added). Because COLP is foreign to Florida, Nevada law governs
        the liability of COLP’s partners for COLP’s obligations.
                2. Nevada law says that an individual cannot be personally
        liable for a corporation’s debt unless the individual “acts as the alter
        ego of the corporation.” Nev. Rev. Stat. § 78.747. A person acts as
        a corporation’s alter ego “only if: (a) The corporation is influenced
        and governed by the person; (b) [t]here is such unity of interest and
        ownership that the corporation and the person are inseparable
        from each other; and (c) [a]dherence to the notion of the
        corporation being an entity separate from the person would
        sanction fraud or promote a manifest injustice.” Id.
                The Supreme Court of Nevada answered three relevant
        certified questions about this statute in Magliarditi v. TransFirst
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        Group, Inc., 135 Nev. 681, No. 73889, 2019 WL 5390470, at *1 (filed
        Oct. 21, 2019) (unpublished disposition). 7 First, the court said that
        creditors can file a cause of action against the alter ego to make him
        personally liable for the corporation’s debt. Id. at *2-3. Second, the
        court said that § 78.747 applies to partnerships, in addition to
        corporations. Id. at *3. And third, the court said that the alter ego
        becomes a “debtor” (i.e., “a person who is liable on a claim” of the
        creditor) when the alter ego violates Nevada’s version of the
        Uniform Fraudulent Transfer Act. Id. at *4-5 (looking at Nev. Rev.
        Stat. § 112.140, et seq. (2017)).
               Applying the high court’s reading of Nevada law here, PRN
        can plead a state law alter ego claim against Cole for fraudulently
        transferring COLP’s assets to the Coles’ TBE, and if PRN proves
        that claim, Cole becomes liable for COLP’s contribution debt to
        PRN. Because Cole’s debt to PRN arises from his role in a
        fraudulent transfer—or, as § 523(a)(2)(A) puts it, Cole would
        possess a “debt for money . . . obtained by . . . actual fraud”—PRN
        has pleaded a viable Husky claim.
               3. Cole argues that even if PRN could plead a viable Husky
        claim, the district court rightly affirmed the dismissal of Count 3
        because PRN pleaded transferor liability like Gaddy, rather than
        recipient liability like Husky.


        7 Magliarditi is unpublished. Rule 36(c) of the Nevada Rules of Appellate Pro-
        cedure states that an unpublished opinion may be cited for its persuasive value
        and citations must be to an electronic database. We cite Westlaw.
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              As explained, we agree with Cole that the party who
        fraudulently transfers money to avoid paying an existing debt is not
        subject to § 523(a)(2)(A)’s exception because that party did not
        “obtain” money by fraud and his (preexisting) debt is not traceable
        to the fraudulent transfer. See Gaddy, 977 F.3d at 1057-58. But
        COLP would be the forbidden transferor here, not Cole, because
        COLP, not Cole, possessed the debt at issue before the transfer.
              Count 3 properly alleges that, by application of Nevada law,
        Cole became liable for COLP’s debt when Cole fraudulently
        obtained COLP’s assets:
              94. Pursuant to Nevada common law and Nevada
                  Revised Stated [sic] Section 78.746, the Debtor is
                  liable to PRN for the subsequent fraudulent
                  transfers and conversions made by Cole [of]
                  Orlando. . . .
              103. By causing Cole of Orlando to make the [$4
                   million transfers], the Debtor obtained debts
                   owed to PRN which are the subject of this Count
                   against the Debtor.
              104. By causing the [$4 million transfers], the Debtor
                   obtained assets that are directly traceable to the
                   transfers from Cole of Orlando because he
                   obtained the right to the whole of the assets
                   transferred and he conspired with [Terre] Cole
                   to hinder, delay[,] or defraud PRN by
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                    transferring the assets.
        As discussed, under Nevada law, PRN must prove that Cole (as
        COLP’s alter ego) forced COLP to transfer its assets to establish
        that Cole became responsible for COLP’s debt to PRN when he
        obtained COLP’s assets. So when PRN pleaded that Cole caused
        the COLP transfers, PRN did so out of necessity—not out of error.
                                         —
               In sum, PRN pleaded facts in Count 3 that, if proved, would
        show that (a) Cole obtained COLP’s money by actual fraud, and as
        a result, (b) Cole became responsible for COLP’s debt to PRN. As
        a result, the bankruptcy court erred in holding that PRN did not
        state a viable cause of action to except that debt from discharge
        under 11 U.S.C. § 523(a)(2)(A).
             3. Preemption
               Alternatively, the bankruptcy court held that, even if PRN
        had a viable cause of action stemming from the COLP transfers, “it
        would belong to the Trustee,” who sought to avoid the transfers
        under § 544(b) and retrieve Cole’s portion of the money under §
        550(a). Cole casts this ruling as one of standing and argues that the
        Trustee had exclusive standing to challenge the COLP transfers
        under § 544(b). We disagree.
               1. For starters, Cole raises a question of preemption, not
        standing. Assuming the pleaded facts are true, PRN meets the
        requirements for Article III standing: (1) the fraudulent transfers
        injured PRN by rendering COLP unable to pay its debt to PRN; (2)
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        Cole caused PRN’s injury by causing COLP to transfer its money
        to an exempt TBE account; and, (3) excepting from discharge any
        debt traceable to Cole’s fraudulent receipt of COLP’s money
        would redress PRN’s injury because PRN could seek payment from
        Cole. See Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)
        (listing the elements of standing). And Congress gave creditors like
        PRN the ability to seek exceptions to redress their injuries. See 11
        U.S.C. § 523(c)(1) (permitting creditors to request an exception
        under § 523(a)(2) and requiring notice and a hearing before the
        bankruptcy court can determine whether to except the challenged
        debt from discharge).
               As a result, the question is not whether PRN had standing to
        plead its § 523(a)(2)(A) claim or whether the bankruptcy court had
        subject matter jurisdiction to hear PRN’s claim. They did. Rather,
        the question is whether the Trustee’s action to avoid the $4 million
        transfers under § 544(b)(1) and recover Cole’s personal interest in
        the money under § 550(a)(1) preempted PRN’s statutory right to
        seek a discharge exception for a debt owed to it.
               2. The Trustee’s § 544(b) action did not preempt PRN’s §
        523(a) action. No Code provision extinguishes a creditor’s right to
        seek a discharge exception under § 523(a)(2)(A) because the
        Trustee seeks to avoid a fraudulent transfer under § 544(b) or §
        548(a) or the full denial of discharge under § 727(a). Nor does it
        appear that Congress intended Trustees to have exclusive
        authority to press claims based on fraudulent transfers. For
        example, if a fraudulent transfer happens within one year of the
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        petition, Congress gives the Trustee and creditors the right to
        challenge the discharge under § 727(a)(2). See 11 U.S.C. § 727(c)(1).
        This case proves that both can challenge a fraudulent transfer
        under § 727(a)(2): PRN challenges the Coledev transfers under §
        727(a)(2) in this appeal, without a standing or preemption
        challenge, see Parts III(A)(2), (B)(2), despite the Trustee settling the
        same § 727(a)(2) claim in her own action.
               Further, Congress added “actual fraud” to § 523(a)(2)(A) as
        part of the Bankruptcy Reform Act of 1978. See Husky, 578 U.S. at
        359. As the Supreme Court noted about this addition in Husky,
        when “Congress acts to amend a statute, we presume it intends its
        amendment to have real and substantial effect.” Id. (quotation
        omitted). If Cole is correct that Trustees have exclusive authority
        to challenge fraudulent transfers under §§ 544 and 548, then
        Congress’ addition of “actual fraud” to creditors’ § 523 arsenal was
        meaningless. Courts must allow creditors to raise “actual fraud”
        claims under § 523(a)(2)(A), even if Trustees can raise avoidance
        claims under § 544(b) or § 548(a), to give that provision real and
        substantial effect.
               Finally, Trustees and creditors have different interests, and
        thus seek different outcomes, when they invoke Chapter 5 to
        challenge a fraudulent transfer. When a Trustee invokes § 544 or §
        548, plus § 550, he seeks to nullify the transfer and recover the
        money for the benefit of all creditors. On the other hand, when a
        creditor invokes § 523(a), he does not seek to bring the money back
        to the estate to divvy up among the creditors. Rather, the creditor
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        wants the recipient to keep the money so that the creditor alone
        can collect it after the bankruptcy court excepts the corresponding
        debt from discharge under § 523(a)(2)(A). Simply put, a Trustee
        action cannot preempt the field of fraudulent transfer actions
        because creditors are playing on a different field. See Husky, 578
        U.S. at 364 (rejecting Ritz’s argument that allowing creditors to
        raise “actual fraud” claims under § 523(a)(2)(A) makes § 727(a)(2)
        redundant because “[a]lthough the two provisions could cover
        some of the same conduct, they are meaningfully different”).
              3. To be clear, we are not saying that the settlement of the
        Trustee’s § 544(b) avoidance claim is meaningless. As PRN
        concedes, Cole may have a viable argument for satisfaction or
        double recovery if (a) PRN succeeds in obtaining a judgment that
        requires Cole to pay COLP’s portion of the SunTrust contribution
        debt and (b) Cole can show that PRN included that debt as part of
        the proof of claim that Cole’s estate paid in the underlying
        bankruptcy case. But we leave those ‘ifs’ for another day. Today,
        our holding is limited: The Trustee’s § 544(b) avoidance action
        does not preempt Cole’s § 523(a)(2)(A) action for a discharge
        exception.
                                        —
                To sum up, Congress gave PRN the right to request an
        exception of COLP’s contribution debt, if PRN can prove that Cole
        fraudulently obtained COLP’s money, and as a result, became
        responsible for COLP’s contribution debt. PRN has pleaded facts
        that, if proved, meet these requirements. And the Trustee’s action
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        to avoid the same fraudulent transfer does not preempt PRN’s right
        to seek a discharge exception.
                Because the bankruptcy court dismissed PRN’s claim based
        on non-viability and lack of standing, the bankruptcy court did not
        rule on the merits of Cole’s motion for summary judgment. We
        thus remand the case for the bankruptcy court to determine in the
        first instance whether any facts material to Count 3 are genuinely
        disputed, and if not, whether Cole is entitled to judgment on Count
        3. See Fed. R. Civ. P. 56(a).
                                IV. CONCLUSION
               We REVERSE the bankruptcy court’s order granting sum-
        mary judgment for Cole on Count 3 and AFFIRM the court’s or-
        ders granting judgment for Cole on all other counts. We REMAND
        the case to the district court for further proceedings consistent with
        this opinion.
